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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                    Plaintiffs,                   Case No. 1:20-cv-03010-APM

        v.

Google LLC,                                       Judge:     HON. AMIT P. MEHTA

                    Defendant.


State of Colorado, et al.,

                    Plaintiffs,                   Case No. 1:20-cv-03715-APM

        v.

Google LLC,                                       Judge:     HON. AMIT P. MEHTA

                    Defendant.


  NON-PARTY MICROSOFT CORPORATION’S POSITION STATEMENT ON THE
 PROPOSED CONFIDENTIALITY MANAGEMENT ORDERS AND THE NEW YORK
     TIMES COMPANY’S MOTION FOR ACCESS TO JUDICIAL RECORDS

        In response to the New York Times Company’s Motion for Access to Judicial Records,

ECF No. 800, and the Parties’ Joint Status Report, ECF No. 808, non-party Microsoft makes this

submission to continue protection of its confidential and commercially sensitive business

information.

  I.    Microsoft Objects to Disclosure of Its Documents Sought in the New York Times’
        Motion for Access to Judicial Records

        Microsoft is not a party to this case. However, throughout the proceedings, non-party

Microsoft has produced more than 2.3 million documents and hundreds of gigabytes of data in

response to requests by the parties. These documents and data reflect commercially sensitive

material related to Microsoft’s search and advertising business—information that Microsoft has
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ensured is kept confidential. This includes detailed information regarding internal strategies, non-

public financial information, and sensitive commercial negotiations.

        Microsoft recognizes the critical role that open courts and open access play in our judicial

system. Consistent with that recognition, Microsoft waived its confidentiality protection over

numerous documents, allowing them to be made public over the course of the trial. Ultimately,

Microsoft designated roughly half of the documents for which it received notice as less than fully

confidential. For those that were designated confidential, Microsoft worked with the Parties to

coordinate effective public testimony that protected Microsoft’s commercially sensitive

information, yet allowed the public to understand Microsoft’s relevance to the Parties’ claims and

defenses. The New York Times seeks to undo Microsoft’s careful efforts to rightly maintain the

confidentiality of that sensitive information as to more than twenty exhibits of documents produced

by Microsoft (the “Requested Exhibits”).1

        Weighed against Microsoft’s interest in the protection of non-public, commercially

sensitive information to which Microsoft has objected to disclosure, neither Hubbard factors one

nor six are sufficient to warrant granting the New York’s Times’ motion. The Court should deny

the New York Times’ motion as to the Requested Exhibits.

        A. The Hubbard Factors Weigh Against Disclosing the Requested Exhibits

        In evaluating requests to protect documents from public disclosure, courts consider the six

Hubbard factors: (1) the need for public access to the documents at issue; (2) the extent of previous

public access to the documents; (3) the fact that someone has objected to disclosure, and the

identity of that person; (4) the strength of any property and privacy interests asserted; (5) the

possibility of prejudice to those opposing disclosure; and (6) the purposes for which the documents


1
 See Decl. of Al-Amyn Sumar, Ex. A, ECF No. 800-4. Microsoft does not object to the disclosure of DX0423 and
DX2013. Microsoft maintains its objection to the remaining Requested Exhibits.


                                                      2
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were introduced during the judicial proceedings. Hardaway v. D.C. Hous. Auth., 843 F.3d 973,

980 (D.C. Cir. 2016) (citations omitted)).

         As this Court has recognized, non-parties, like Microsoft, have a strong interest in

“maintaining the confidentiality of their proprietary business information” and while there is a

presumption favoring public access, “the right of public access . . . is not absolute.” See FTC v.

Sysco Corp., 15-cv-00256 (APM), ECF No. 206 at 1 (D.D.C. Aug. 4, 2015); MetLife, Inc. v. Fin.

Stability Oversight Council, 865 F.3d 661, 663, 665 (D.C. Cir. 2017) (quoting United States v.

Hubbard, 650 F.2d 293 (D.C. Cir. 1980)). And as the Court made clear during trial, “[w]hat the

public has a right of access [to is] the portions of records that are presented at trial [and] that are

likely to be part of the evidence that the Court will consider. Just because a case comes to trial and

there’s public interest in the trial and there are documents introduced, does not mean that all of

those documents in their entirety become public records,” and “[t]o the extent a document is being

put on a public website, it is [the] relevant portions of a document presented at trial.”2

         Consistent with and guided by these principles, and subject to the Court’s orders and

guidance, Microsoft worked diligently with the Parties to assess requests both as to the publishing

of Microsoft documents and their provision in response to requests from the New York Times and

other press outlets. Where Microsoft objected to such requests, it did so because the Hubbard

factors weighed against disclosure.3 The Requested Exhibits are commercially sensitive to

Microsoft, and thus rightly kept confidential, and the Parties and the Court were careful in ensuring




2
  See Tr. 3444:20-3445:8; 3451:8-13 (emphasis added).
3
  Additionally, while a limited group of Requested Exhibits predate 2018, the fact the documents are older does not,
on its own, require their disclosure. Rather, where—as in this instance—that information would still disclose
commercially sensitive information that could today be used to Microsoft’s detriment, Microsoft has the right to ensure
that that information is appropriately sealed. See Encyclopedia Brown Prods., Ltd. v. Home Box Off., Inc., 26 F. Supp.
2d 606, 614 (S.D.N.Y. 1998) (finding that information nearly a decade old still merited sealing).


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those exhibits were not publicly presented or substantively discussed during public testimony,

while still providing sufficient context for the public to understand the testimony and issues in the

case. What the New York Times seeks are those exhibits, or portions of them, that were not

presented and that the Parties and witnesses took great care to avoid presenting. As further detailed

below, the Hubbard factors do not weigh in favor of the Court ordering disclosure of the Requested

Exhibits.4

                       i. There is No Need for Public Access to the Requested Exhibits Sufficient
                          to Outweigh Microsoft’s Objection to the Disclosure of its
                          Commercially Sensitive Information

         As the “presumption in favor of public access to court documents is based on ‘promoting

the public’s understanding of the judicial process[,]’ where the information at issue is not necessary

to the public’s understanding, the public has a ‘minimal interest in [that] information.’” Apple Inc.

v. Samsung Elecs. Co., 727 F.3d 1214, 1226 (Fed. Cir. 2013); see also, e.g., Syngenta Crop Prot.,

LLC v. Willowood, LLC, No. 1:15-CV-274, 2017 WL 6001818, at *7 (M.D.N.C. Dec. 4, 2017)

(finding that, where the relevant information is clear from reading the testimony, access to the

exhibits themselves is not necessary). Here, the New York Times cannot plausibly claim a need for

the Requested Exhibits under the first Hubbard factor in light of the extensive, public testimony

from Microsoft witnesses in this case.

         At the Court’s direction, Microsoft worked with the Parties during trial to facilitate largely

open-court testimony, even on commercially sensitive topics. When necessary, this was done by

presenting and publicly displaying only certain, non-confidential portions of exhibits and by


4
  DX0963 is unique among the exhibits to which the New York Times has requested access as Microsoft was not
previously notified of its use at trial. Contrary to the New York Times’ identification of Microsoft as the objecting
third party for DX0963, Microsoft has not received any notice related to DX0963. Based on available information,
including the unsealed testimony of Mr. Eddy Cue, it is clear that DX0963 was produced by Apple. As such, and
while the exhibit may implicate Microsoft’s commercially sensitive information that should not be disclosed,
Microsoft cannot opine on the appropriateness of disclosure.


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eliciting testimony about the substance of commercially sensitive, confidential documents while

avoiding displaying, or eliciting testimony about, protected material. The approach enabled the

public to understand Microsoft’s relevance to the Parties’ claims and defenses while still protecting

Microsoft’s commercially sensitive information.

       For example, UPX0116, UPX0246, UPX0301, UPX0736, and UPX0797 each contain

detailed, confidential, and commercially sensitive information, including detailed modeling,

concerning Microsoft’s negotiations with Apple and Samsung for greater access to search access

points in those companies’ products. Microsoft historically has pursued, and may continue to

pursue, search distribution with Apple, Samsung, and other companies. As such, the details of

those negotiations continue to be commercially sensitive, and the public disclosure of these

confidential documents would prejudice Microsoft’s negotiating position in the future. Such a

disclosure would invite both the parties with whom Microsoft negotiates as well as competitors

into Microsoft’s strategic negotiations. More specifically, disclosure would provide counterparties

unfair insight into Microsoft’s negotiating posture towards, and the feedback Microsoft received

from, Apple and Samsung, prejudicing Microsoft’s ability to effectively compete for future

distribution opportunities. Yet, the Parties were able to elicit substantially all of the testimony

related to these documents in open session, including during testimony by Mr. Nadella and Mr.

Tinter. Importantly, this testimony was conducted carefully to allow questions about the exhibits’

substance while shielding the specifics from public disclosure; in other words, to preserve the very

balance Hubbard envisions: ensuring the public has access to information necessary to understand

the case without sacrificing the legitimate confidentiality concerns about commercially sensitive

information.




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         Similarly, DX0500 and DX0500A contain a confidential email and attachment. These

exhibits outline Microsoft’s commercially sensitive, non-public, and unreported estimated profits

and losses for its Search, Ads, and News business unit and comparative Google search investments.

This information remains particularly sensitive to Microsoft’s business, as the public disclosure of

either the estimated profitability of Microsoft’s search business or its level of investment could

allow competitors and other industry players unfair insight. Microsoft consistently has treated such

information as confidential and commercially sensitive, does not release it publicly, and has

worked with the Parties to ensure testimony on these documents—all of which took place in open

session—did not reveal commercially sensitive details.5 After taking pains not to present this

testimony in a way that would compromise those sensitivities, it defies fairness and logic to

contend that these exhibits should now be swept into the public sphere.6

         Given the business risks posed by the public disclosure of the Requested Exhibits and the

clear, extensive public testimony the Parties solicited from Microsoft witnesses,7 the balance of

the Hubbard factors weigh in favor of denying the New York Times’ request for their disclosure.

                      ii. The Limited Scope of Use for Many of the Requested Exhibits Also
                          Weighs Against Disclosure

         With sufficient context available for the public to understand issues raised by the Requested

Exhibits, their disclosure would be both disproportionate to their evidentiary value and/or

implicate commercially sensitive information.




5
  See, e.g., Tr. 3562:3-3564:14.
6
  Other properly confidential and commercially sensitive exhibits for which Microsoft ensured clear public
testimony include, e.g., DX0452, DX0466, DX0472, DX0535, DX0524, DX680, DX0533, DX0538, and DX0688.
7
  Due to their sensitivity, DX0434, DX0454, DX0457, and DX0679 were used in closed session only. However,
Microsoft—with limited exceptions—has not requested that the related testimony remain sealed. Access to the
relevant portions of Mr. Tinter’s testimony is more than sufficient to meet the need for the public to understand the
issues in the case without disclosing the additional, detailed, commercially sensitive information in the exhibits.


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        For example, DX0688 is a confidential email chain on which Mr. Parakhin was asked only

a few brief questions related a fraction of a sentence related to the size of the engineering team for

Bing compared to that of Google.8 To the extent information from DX0688 is needed to understand

the relevance of the document, that information is readily apparent from the transcript and does

not require disclosure of DX0688 itself, which otherwise reflects assessments of a specific

employee’s performance as well as other commercially sensitive information about Microsoft’s

business and strategy. As such, the Hubbard factors cannot weigh in favor of disclosure.9

        Similarly, PSX00761 is a confidential agreement entered into by Microsoft and Google in

April 2016. It was entered into evidence solely to establish that Microsoft and Google had a process

for executive-level discussions.10 The substance of resulting discussions between Microsoft and

Google were the subject of significant public testimony. Conversely, the agreement itself, and even

the specific provisions outlining the dispute resolution process, would offer no further insight into

the Parties’ claims and defenses.

        Given the limited use of the aforementioned Requested Exhibits, the extensive amount of

sensitive or otherwise non-public information at risk, and—again—the amount of clear, public

testimony on the pertinent issues, the balance of the Hubbard factors weighs in favor of denying

the New York Times’ motion for their disclosure.




8
  See Tr. 2752:15-2754:4.
9
   Other Requested Exhibits for which testimony was tightly constrained relative to the commercially sensitive
substance of the exhibits themselves, or for which questioning was conducted on only discrete portions of individual
documents include, e.g., DX0455, DX0501, and DX0673. See, e.g., Tr. 3323:15-3333:20 (discussing DX0455); Tr.
3652:16-3654:13 (discussing DX0501); and Tr. 3647:13-3652:15 (discussing DX0673).
10
   See Tr. 3084:2-7.


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 II.   Microsoft Supports Google’s Proposed Confidentiality Management Order

       Microsoft has reviewed the Parties’ proposed Confidentiality Management Orders. In light

of the extensive negotiations Microsoft conducted with the Parties concerning the confidentiality

of its documents, Microsoft believes that the approach proposed by Google is most appropriate.

       The process outlined in Google’s proposed order will eliminate unnecessary re-review of

exhibits for which good-faith confidentiality assessments have been made and are unlikely to

change, protect the confidentiality of Microsoft documents cited in further submissions to this

Court, and ensure a streamlined and efficient process for proposing related redactions. Plaintiffs’

proposal for broad re-review of exhibits undermines the extensive negotiations to date. Moreover,

Plaintiffs’ proposal for staggered and overlapping confidentiality review periods of the Parties’

post-trial filings would be overly burdensome and inefficient, particularly given the business input

required to make those determinations, the time-intensive business disruptions from such requests,

and the significant resources invested to date addressing such questions.

                                         CONCLUSION

       For the foregoing reasons, Microsoft respectfully requests that the Court deny the New

York Times’ motion with respect to Microsoft’s documents and accept Google’s proposed

Confidentiality Management Order.


Dated: February 2, 2024                       Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 2, 2024 the foregoing document was electronically

submitted with the clerk of the court for the United States District Court, District of Columbia,

using the electronic case file system of the court. The electronic case file system sent a “Notice of

Electronic Filing” to all counsel of record.

                                                      /s/ Amy W. Ray
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